              Case 19-04492-dd                          Doc 17       Filed 12/12/19 Entered 12/12/19 14:19:40                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Henrietta Claire Phillips                                                                      Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name       Middle Name            Last Name
 United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                           Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 19-04492                                                                                 2.1 to increase overall monthly
 (If known)                                                                                                            payments; 3.1(c) to list case being
                                                                                                                       conduit; 8.1 to list terms of conduit
                                                                                                                       plan


District of South Carolina
Chapter 13 Plan                                                                                                                                          5/19

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                           Included                    Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:

$499.00 per Month for 4 months
$1,250.00 per Month for 56 months

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

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2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment):


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

                          3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                          accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                          between this document and the Operating Order, the terms of the Operating Order control.

3.2          Request for valuation of security and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                                    The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                          secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                          Estimated amount of secured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                          motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                          value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                          amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                          below.

                                    The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                          under Part 5.1 of this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s
                          allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                          Court, the amount of the creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this
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                          paragraph.

                                    Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by
                          section 1325(a)(5)(B)(i). Unless there is a non-filing co-debtor who continues to owe an obligation secured by the lien, any
                          secured creditor paid the allowed secured claim provided for by this plan shall release its liens at the earliest of the time required
                          by applicable state law, order of this Court, or thirty (30) days from the entry of the discharge.

 Name of               Estimated             Collateral              Value of         Amount of claims Estimated amount         Interest       Estimated
 creditor              amount of                                     collateral       senior to creditor's of secured claim     rate           monthly
                       creditor's                                                     claim                                                    payment to
                       total claim                                                                                                             creditor
                                                                                                                                               (disbursed by
                                                                                                                                               the trustee)




 AUTO
 MART OF
 ST.                                         1987
 ANDREW                                      BUICK
 S                     $1,394.89             LESABRE                 $200.00                     $0.00              $200.00       6.25%                        $5.00
                                                                                                                                               (or more)

 3.3         Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                          obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                          at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                          secured claim in this case.

 Name of Creditor                    Collateral                                   Estimated amount of claim Interest rate        Estimated monthly payment
                                                                                                                                 to creditor

 PERITUS
 PORTFOLIO                           2017 KIA SEDONA                                         $22,315.91              6.25%                                 $435.00
                                                                                                                                 (or more)

                                                                                                                                 Disbursed by:
                                                                                                                                    Trustee
                                                                                                                                    Debtor

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                          order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                          claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                          in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
                          avoided, provide the information separately for each lien.
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                           Choose the appropriate form for lien avoidance

 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 FIRST
 CREDIT                                                           1,500.00
                                                                S.C. Code
 HOUSEH                                                             Ann. §
 OLD                                                         15-41-30(A)(3
 GOODS                 $770.00                     $805.91                )                  $1,500.00                $0.00                          100%
 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 SECURIT
 Y
 FINANCE                                                                  1,500.00
                                                                        S.C. Code
 HOUSEH                                                                     Ann. §
 OLD                                                                 15-41-30(A)(3
 GOODS                 $805.91                          $0.00                    )           $1,500.00               $0.00                                  100%

                           Use this for avoidance of liens on co-owned property only.

 Name of               Total equity          Debtor’s equity Applicable               Non-exempt equity Estimated lien       Amount of Amount of lien
 creditor and          (value of             (Total equity   Exemption and            (Debtor's equity                       lien not   avoided
 description           debtor's              multiplied by   Code Section             less exemption)                        avoided(to
 of property           property less         debtor’s                                                                        be paid in
 securing lien         senior/unavoi         proportional                                                                    3.2 above)
                       dable liens)          interest in
                                             property)
 -NONE-



 3.5         Surrender of collateral.

      Check one.
                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
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                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.

                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.            Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                         DSO recipient), at the rate of $       or more per month until the balance, without interest, is paid in full. Add
                                         additional creditors as needed.

                           b.            The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                         directly to the creditor.

                           c.            Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                         obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                         of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                         order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.


 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                  The debtor estimates payments of less than 100% of claims.
                  The debtor proposes payment of 100% of claims.
                  The debtor proposes payment of 100% of claims plus interest at the rate of 5.25%.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

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                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 8.1 (a) Conduit Mortgage Plan payments referenced in 3.1(c)
 Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:
  Name of Creditor         Description of                Current          Monthly              Estimated amount           Monthly
                           Collateral                    installment      payment to cure of                              payment on
                                                         payment          GAP **               PRE-PETITION               pre-petition
                           (note if principal            (ongoing         (post-petition       ARREARAGE**                arrearage
                           residence; include            payment          mortgage             (including the
                           county tax map number         amount) *        payments for         month of filing
                           and complete street                            the two (2)          or conversion)*
                           address)                                       months
                                                                          immediately
                                                                          following the
                                                                          event beginning
                                                                          conduit)


   OCWEN LOAN                            DEBTORS                     $556.20          $19.00            $1,428.61         $24.00
   SERVICING/PHH                        RESIDENCE: 154               Escrow for       Or more                             Or more
   MORTGAGE                             LINCOLN INN                  taxes:
   CORPORATION                          ROAD, COLUMBIA,              X Yes
                                        SC 29212,                    ? No
                                        LEXINGTON                    Escrow for
                                        COUNTY; TMS #                insurance:
                                        (002742-02-005)
                                                                     X Yes
                                                                     ? No

  * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP 3002(c) control over any
 contrary amounts above, and any Notice of Payment Change that might be filed to amend the ongoing monthly payment amount.
  ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment and any
 Notice of Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears amount.
 All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses, and Charges
 under F.R.B.P. 3002.1, filed with the Court, will be paid by the Trustee, on a pro rata basis as funds are available. See the Operating Order
 of the Judge assigned to this case.

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 Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the debtor shall be directly responsible for ongoing mortgage payments
 and any further post-petition fees and charges.




 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Henrietta Claire Phillips                                           X
       Henrietta Claire Phillips                                                      Signature of Debtor 2
       Signature of Debtor 1

       Executed on            December 12, 2019                                       Executed on

 X     /s/ JASON T. MOSS                                                       Date     December 12, 2019
       JASON T. MOSS 7240
       Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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